          Case 2:11-cr-00427-TLN-CKD Document 207 Filed 07/27/15 Page 1 of 3


1    ERIN J. RADEKIN
     Attorney at Law - SBN 214964
2    428 J Street, Suite 350
     Sacramento, California 95814
3    Telephone: (916) 446-3331
     Facsimile: (916) 447-2988
4
     Attorney for Defendant
5    ANGELA SHAVLOVSKY

6

7                          IN THE UNITED STATES DISTRICT COURT

8                         FOR THE EASTERN DISTRICT OF CALIFORNIA

9

10   UNITED STATES OF AMERICA,             )    2:11-CR-00427 TLN
                                           )
11                            Plaintiff,   )    STIPULATION AND ORDER
                                           )    TO CONTINUE STATUS CONFERENCE
12   v.                                    )
                                           )
13                                         )
     ANGELA SHAVLOVSKY,                    )
14                                         )
                             Defendant.    )
15   __________________________________    )

16
                                        STIPULATION
17
           Plaintiff, United States of America, by and through its counsel,
18
     Assistant United States Attorney Jill Thomas, and defendant, Angela
19
     Shavlovsky, by and through her counsel, Erin J. Radekin, agree and stipulate
20
     to vacate the date set for status conference, July 30, 2015 at 9:30 a.m., in
21
     the above-captioned matter, and to continue the status conference to November
22
     5, 2015 at 9:30 a.m. in the courtroom of the Honorable Troy L. Nunley.
23
           The reason for this request is that additional time is needed by Ms.
24
     Radekin to complete review of discovery and other relevant records, for
25
     investigation, and for other defense preparation.   Ms. Radekin had not yet
26
     completed review of the discovery, which is currently through bates no.
27
     72861.   Ms. Radekin has employed a paralegal to assist her by organizing the
28



                                    Stipulation and Order - 1
          Case 2:11-cr-00427-TLN-CKD Document 207 Filed 07/27/15 Page 2 of 3


1    discovery, but the paralegal has not yet finished such project.       Further, Ms.

2    Radekin is ordering the trial transcripts in the related case United States

3    v. Palamarchuk, case number 2:11-cr-00450, which she intends to review.

4    Finally, investigation is not yet complete. The Court is advised that Ms.

5    Thomas concurs with this request and has authorized Ms. Radekin to sign this

6    stipulation on her behalf.

7          The parties further agree and stipulate that the time period from the

8    filing of this stipulation until November 5, 2015 should be excluded in

9    computing time for commencement of trial under the Speedy Trial Act, based

10   upon the interest of justice under 18 U.S.C. § 3161(h)(7)(B)(iv), and Local

11   Code T4, to allow reasonable time necessary for effective defense

12   preparation.   It is further agreed and stipulated that the ends of justice

13   served in granting the request outweigh the best interests of the public and

14   the defendant in a speedy trial.

15         Accordingly, the parties respectfully request the Court adopt this

16   proposed stipulation.

17   IT IS SO STIPULATED

18   Dated: July 27, 2015                         BENJAMIN WAGNER
                                                  United States Attorney
19
                                          By:      /s/ Jill Thomas
20                                                JILL THOMAS
                                                  Assistant United States Attorney
21

22   Dated: July 27, 2015                          /s/ Erin J. Radekin
                                                  ERIN J. RADEKIN
23                                                Attorney for Defendant
                                                  ANGELA SHAVLOVKSY
24

25
                                          ORDER
26
           For the reasons set forth in the accompanying stipulation and
27
     declaration of counsel, the status conference date of July 30, 2015 at 9:30
28



                                   Stipulation and Order - 2
          Case 2:11-cr-00427-TLN-CKD Document 207 Filed 07/27/15 Page 3 of 3


1    a.m. is VACATED and the above-captioned matter is set for status conference

2    on November 5, 2015 at 9:30 a.m.    The Court finds excludable time in this

3    matter through November 5, 2015 under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local

4    Code T4, to allow reasonable time necessary for effective defense

5    preparation.   For the reasons stipulated by the parties, the Court finds that

6    the interest of justice served by granting the request outweigh the best

7    interests of the public and the defendant in a speedy trial. 18 U.S.C. §§

8    3161(h)(7)(A), (h)(7)(B)(iv).

9    IT IS SO ORDERED.

10   Dated: July 27, 2015

11
                                                Troy L. Nunley
12                                              United States District Judge
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28



                                     Stipulation and Order - 3
